 

Case 2:20-cv-01958-AB Document 5 Filed 06/30/20 Page 1of1

ORIGIN ID:PNEA (610) 584-0700 SHIP DATE: 26JUN20
Maria Martin ACTWGT: 0.90 LB
9004 Cresaman Road CAD: 114479659/INET4220

Second Flear
Skippack, PA 1947

4
UNITED STATES, US ENVET

 

TO 6105840700

Chinese Communist Party
174 Chang'an Avenue Eypress
Xicheng District

BEIJING, 100032 (CN)
CHINA, CN

Je01 F20042420uy

AWB

 

HMO

TRK# 7708 14242738 Farm

0430
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DESC2:

DESC3:
DESC:
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COUNTRY MFG: US SIGN: Maria Martin
CARRIAGE VALUE: 0.00 USD TIC: $ 158381153
CUSTOMS VALUE: 1.00 USD D/T: $ 159381153

 

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